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             UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF FLORIDA
                   PANAMA CITY DIVISION

In Re:                                Case No.: 18-50307-KKS
                                      Chapter: 7
Roger Allen Mills,

         DEBTOR(S).
________________________________________/

      TRUSTEE’S REPORT AND NOTICE OF INTENTION TO
        SELL PROPERTY OF THE ESTATE AT AUCTION

TO: Debtor(s), Creditors, and Parties in Interest

                    NOTICE OF OPPORTUNITY TO
                 OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. Mail, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).
       If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy
on the Trustee, Mary W. Colón, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested without a hearing.
       If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.



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      NOTICE IS HEREBY GIVEN that Mary W. Colón, Trustee of
the bankruptcy estate of the above-named debtor(s) intends to sell
the following property of the referenced bankruptcy estate under the
terms and conditions set forth below:

TIME, PLACE AND DATE OF AUCTION: Beginning at 10:00 A.M.
CENTRAL TIME on (Saturday), February 1, 2020 at the Fort Walton
Beach Fairgrounds, 1958 Lewis Turner Blvd., Ft. Walton Beach,
Florida 32547. (Contact Auctioneer at Toll Free 1-800-858-3869 for
directions or brian@nwflauctiongroup.com.

Description of
Property:              Interest of Debtor in 2014 Harley Davidson
                       Triglide Ultra Classic; lien on title $zero.

Manner of Sale:        Public auction by Northwest Florida Auction
                       Group, Inc., Brian C. Sparling, Auctioneer
                       1319 Lewis Turner Blvd., Ft. Walton Beach,
                       Florida (850) 862-0914.

Terms of Sale:         Cash basis only at auction; property to be sold
                       AS IS, WHERE IS no warranties express or
                       implied. (unless noted by Auctioneer). No
                       Buyer’s premium.

                       BUYER RESPONSIBLE FOR ALL
                       TRANSFER TAXES, SALES TAX, AND/OR
                       FEES.

                       (a) Sale To:            General Public
                       (b) Sale Price:         Highest bidder for
                                               cash.
                       (c) Lienor(s) (if any): This sale is subject to
                           any scheduled liens as set forth above or
                           as otherwise noted by the Auctioneer.




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If no objection is filed, the sale described above shall take place and
the property sold to the highest bidder.

      RESPECTFULLY SUBMITTED this January 6, 2020.


                                      /s/ Mary W. Colón
                                      MARY W. COLÓN
                                      Chapter 7 Trustee
                                      Florida Bar No.: 0184012
                                      Post Office Box 14596
                                      Tallahassee, Florida 32317
                                      Phone: (850) 241-0144
                                      Facsimile: (850) 702-0735
                                      trustee@marycolon.com


                     CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been furnished
by U.S. Mail with postage prepaid to all persons on the court’s mailing
matrix by BK Attorney Services, LLC d/b/a certificateofservice.com on
January 6, 2020.


                                      /s/ Mary W. Colón
                                      MARY W. COLÓN




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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         PANAMA CITY DIVISION
IN RE: ROGER ALLEN MILLS                                        CASE NO: 18-50307-KKS
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 1/6/2020, I did cause a copy of the following documents, described below,
NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE AT AUCTION




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 1/6/2020
                                                          /s/ Mary W. Colon, Chapter 7 Trustee
                                                          Mary W. Colon, Chapter 7 Trustee
                                                          Mary W. Colon, Trustee
                                                          P. O. BOX 14596
                                                          TALLAHASSEE, FL 32317
                                                          850 241 0144
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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              PANAMA CITY DIVISION
 IN RE: ROGER ALLEN MILLS                                               CASE NO: 18-50307-KKS

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 1/6/2020, a copy of the following documents, described below,

NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE AT AUCTION




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 1/6/2020




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Mary W. Colon, Chapter 7 Trustee
                                                                            Mary W. Colon, Trustee
                                                                            P. O. BOX 14596
                                                                            TALLAHASSEE, FL 32317
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 18-50307-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 68
                                                         FIRST Filed
                                                                CLASS 01/06/20
                                                                       MAIL      Page 6 of 7
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                BK GLOBAL REAL ESTATE SERVICES           JPMORGAN CHASE BANK NATIONAL
1LABEL MATRIX FOR LOCAL NOTICING         1095 BROKEN SOUND PARKWAY SUITE 200      ASSOCIATION
11295                                    BOCA RATON FL 33487-3503                 CO STEVEN GERALD POWROZEK
CASE 18-50307-KKS                                                                 SHAPIRO FISHMAN GACHE LLP
NORTHERN DISTRICT OF FLORIDA                                                      4630 WOODLAND CORPORATE BLVD STE 100
PANAMA CITY                                                                       TAMPA FL 33614-2429
MON JAN 6 14-41-21 EST 2020



NATIONSTAR MORTGAGE LLC DBA MR COOPER    NORTHWEST FLORIDA AUCTION GROUP INC      PACIFIC UNION FINANCIAL LLC
ROBERTSON ANSCHUTZ SCHNEID PL            1319 LEWIS TURNER BLVD                   EXL LEGAL PLLC
6409 CONGRESS AVENUE SUITE 100           FT WALTON BEACH FL 32547-1137            12425 28TH STREET NORTH
BOCA RATON FL 33487-2853                                                          SUITE 200
                                                                                  ST PETERSBURG FL 33716-1826




PACIFIC UNION FINANCIAL LLC              TERESA M DORR ESQ                        AMERICAN EXPRESS
CO ALEJANDRO MARTINEZMALDONADO           ZALKIN REVELL PLLC                       CORRESPONDENCEBANKRUPTCY
EXL LEGAL PLLC                           2441 US HIGHWAY 98W                      PO BOX 981540
12425 28TH ST SUITE 200                  SUITE 109                                EL PASO TX 79998-1540
ST PETERSBURG FL 33716-1826              SANTA ROSA BEACH FL 32459-5386




AMERICAN EXPRESS                         AMERICAN EXPRESS NATIONAL BANK           BARCLAYS BANK DELAWARE
PO BOX 297871                            CO BECKET AND LEE LLP                    ATTN CORRESPONDENCE
FORT LAUDERDALE FL 33329-7871            PO BOX 3001                              PO BOX 8801
                                         MALVERN PA 19355-0701                    WILMINGTON DE 19899-8801




BARCLAYS BANK DELAWARE                   CAPITAL ONE                              CAPITAL ONE
PO BOX 8803                              ATTN BANKRUPTCY                          PO BOX 30285
WILMINGTON DE 19899-8803                 PO BOX 30285                             SALT LAKE CITY UT 84130-0285
                                         SALT LAKE CITY UT 84130-0285




CAPITAL ONE BANK USA NA                  CHASE MORTGAGE                           HARLEY DAVIDSON FINANCIAL
PO BOX 71083                             ATTN CASE RESEARCH BANKRUPTCY            ATTN BANKRUPTCY
CHARLOTTE NC 28272-1083                  PO BOX 24696                             PO BOX 22048
                                         COLUMBUS OH 43224-0696                   CARSON CITY NV 89721-2048




HARLEY DAVIDSON CREDIT CORP              JPMORGAN CHASE BANK NATIONAL             JERRY WILSONS ROOFING LLC
PO BOX 9013                              ASSOCIATION                              1705 ALABAMA AVE
ADDISON TEXAS 75001-9013                 CHASE RECORDS CENTER                     LYNN HAVEN FL 32444-4243
                                         ATTN- CORRESPONDENCE MAIL
                                         MAIL CODE LA4-5555
                                         700 KANSAS LANE
                                         MONROE LA 71203-4774



PACIFIC UNION FINANCIAL                  PACIFIC UNION FINANCIAL LLC              PINNACLE
ATTN BANKRUPTCY                          1601 LBJ FREEWAY STE 500                 PO BOX 130848
1603 LBJ FREEWAY SUITE 500               FARMERS BRANCH TX 75234-6034             CARLSBAD CA 92013-0848
FARMERS BRANCH TX 75234-6071




POLLACK ROSEN PA                         PORTFOLIO RECOVERY ASSOCIATES LLC        SYNCHRONY BANK
806 DOUGLAS RD                           PO BOX 41067                             CO PRA RECEIVABLES MANAGEMENT LLC
SOUTH TOWER SUITE 200                    NORFOLK VA 23541-1067                    PO BOX 41021
CORAL GABLES FL 33134-3157                                                        NORFOLK VA 23541-1021
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 18-50307-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 68
                                                         FIRST Filed
                                                                CLASS 01/06/20
                                                                       MAIL      Page 7 of 7
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

SYNCHRONY BANKCARE CREDIT                SYNCHRONY BANKCARE CREDIT                US BANK
950 FORER BLVD                           ATTN BANKRUPTCY DEPT                     PO BOX 5229
KETTERING OH 45420-1469                  PO BOX 965061                            CINCINNATI OH 45201-5229
                                         ORLANDO FL 32896-5061




UNITED STATES TRUSTEE                    WYNDHAM CONSUMER FINANCE INC             WYNDHAM VACATION OWNERSHIP INC
110 E PARK AVENUE                        P O BOX 97474                            10750 W CHARLESTON BLVD
SUITE 128                                LAS VEGAS NV 89195-0001                  LAS VEGAS NV 89135-1049
TALLAHASSEE FL 32301-7728




                                                                                  DEBTOR
MARY W COLON                             NATASHA Z REVELL
PO BOX 14596                             ZALKIN REVELL PLLC                       ROGER ALLEN MILLS
TALLAHASSEE FL 32317-4596                WATERSIDE BUSINESS CENTER                4021 OSPREY POINT
                                         2441 US HIGHWAY 98W STE 109              PANAMA CITY FL 32409-2129
                                         SANTA ROSA BEACH FL 32459-5386




TERESA M DORR
ZALKIN REVELL PLLC
2441 US HIGHWAY 98 SUITE 109
SANTA ROSA BEACH FL 32459-5386
